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                                                                                       Aug 21, 2018

                             UNITED STATES COURT OF APPEALS                                         MIAMI
                                FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

   David J. Smith                                                                      For rules and forms visit
   Clerk of Court                                                                      www.ca11.uscourts.gov


                                            August 21, 2018

   Steven M. Larimore
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 16-16740-EE
   Case Style: Taiwan Smart v. City of Miami
   District Court Docket No: 1:13-cv-24354-MGC

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                         MDT-1 Letter Issuing Mandate
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                             UNITED STATES COURT OF APPEALS
                                   For the Eleventh Circuit
                                       ______________

                                             No. 16-16740
                                            ______________

                                       District Court Docket No.
                                         1:13-cv-24354-MGC

   TAIWAN SMART,

                                                      Plaintiff - Appellee,

   versus

   CITY OF MIAMI,
   An Incorporated Minicipality,

                                                Defendant - Appellant.
                          __________________________________________

                          Appeal from the United States District Court for the
                                     Southern District of Florida
                          __________________________________________

                                              JUDGMENT

   It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
   entered as the judgment of this Court.

                                        Entered: June 28, 2018
                           For the Court: DAVID J. SMITH, Clerk of Court
                                           By: Jeff R. Patch




   ISSUED AS MANDATE 08/21/2018
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                                                                         [DO NOT PUBLISH]



                    IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT
                                 ________________________

                                       No. 16-16740
                                 ________________________

                            D.C. Docket No. 1:13-cv-24354-MGC



   TAIWAN SMART,

                                                            Plaintiff - Appellee,

   versus

   CITY OF MIAMI,
   An Incorporated Municipality,

                                                            Defendant - Appellant.

                                 ________________________

                         Appeal from the United States District Court
                             for the Southern District of Florida
                               ________________________

                                          (June 28, 2018)

   Before JORDAN and JILL PRYOR, Circuit Judges, and DUFFEY, District Judge. *

   PER CURIAM:

   *
    The Honorable William S. Duffey, Jr., United States District Court for the Northern District of
   Georgia, sitting by designation.
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             Taiwan Smart was imprisoned for 19 months following his arrest as a

   suspect in a double homicide in Miami. After the charges against him were

   dismissed and he was released from custody, Mr. Smart sued the City of Miami for

   false arrest under state law, false imprisonment under state law, and deprivation of

   his Fourth Amendment rights under 42 U.S.C. § 1983. The Fourth Amendment

   claims were based on the nonconsensual filming (in 2009) and broadcast (in 2010)

   by The First 48 of Mr. Smart’s apartment, questioning, arrest, and interrogation.

   The First 48, a reality television program, had contracted with the City for the

   filming and broadcast of police investigations and activities.1

             The district court granted summary judgment for the City on the state law

   false arrest claim.        The remaining claims went to trial.    At the close of the

   evidence, the district court granted judgment as a matter of law to Mr. Smart on his

   § 1983 Fourth Amendment claim based on the filming and broadcast of the murder

   scene in the apartment. It submitted that claim to the jury only to determine

   damages. See D.E. 101 at 17-18 (jury instructions).

             The jury awarded Mr. Smart a total of $860,200 in damages: $403,450 on

   the state law false imprisonment claim, and $456,750 on the three § 1983 Fourth

   Amendment claims. With respect to the § 1983 claim based on the filming and

   broadcast of the murder scene at the apartment, the jury awarded Mr. Smart


   1
       The episode in question was entitled “Inside Job.”
                                                     2
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   $152,250. As to the other two § 1983 claims, the jury found that the City violated

   the Fourth Amendment by allowing The First 48 to film and broadcast Mr. Smart

   in handcuffs before and after his arrest, and awarded him $152,250. It also found

   that the City violated the Fourth Amendment by allowing The First 48 to film and

   broadcast Mr. Smart’s interrogation, and awarded him $152,250.

          The City makes three main arguments on appeal. First, it asserts that the

   district court erred in denying its renewed motion for judgment as a matter of law

   on the state law false imprisonment claim because Mr. Smart was held in custody

   pursuant to a valid judicial order. Second, it argues that the district court erred in

   denying its renewed motion for judgment as a matter of law on Mr. Smart’s § 1983

   claims, and in granting judgment as a matter of law to Mr. Smart on the liability

   aspect of one of his § 1983 claims, because (a) there was insufficient evidence to

   show a policy, custom, or practice on the part of the City and (b) the filming by

   The First 48 did not violate any of Mr. Smart’s constitutional rights. Third, it

   contends that the district court should have granted its motion for a new trial due to

   the improper admission of evidence and a closing argument remark by Mr. Smart’s

   counsel. Based on a review of the record, and with the benefit of oral argument,

   we affirm in part and reverse in part. 2



   2
    We address only the arguments presented by the City on appeal. As to issues not specifically
   addressed in this opinion, we affirm without further discussion.
                                                3
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                                             I

         Most of the facts in this case are undisputed, but the inferences to be drawn

   from them, and the legal implications resulting from them, are hotly contested. We

   set out the basic facts below, but additional facts and relevant portions of the

   evidence at trial are detailed later, where appropriate, to explain our analysis of the

   issues on appeal.

                                             A

         In 2004, The First 48—a popular reality television show based on the

   premise that homicide detectives need to get leads during the first 48 hours after a

   murder to have the best chance of solving the case—contracted with the City of

   Miami to feature the City and its Police Department in its broadcasts. In 2008, the

   City requested the addition of further terms to the contract. These additional terms

   specified, in part, that no stagings or reenactments were permitted, and that no film

   crew could enter upon private property without first obtaining consent from the

   property owner. Crews from The First 48 often were present at the offices of the

   homicide division. If they were not around when a call came in about a murder,

   detectives would call The First 48 so crewmembers could accompany the police to

   the scene.

         By its tenth season in 2013, The First 48 had featured the City in 64 episodes

   documenting 76 cases handled by the homicide division of its Police Department.


                                             4
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   The 2009 Annual Report of the City of Miami Police Department dedicated a page

   to The First 48, showing a group photo of the Miami homicide detectives who had

   appeared on the show alongside the film crews imbedded within the Police

   Department. The caption accompanying that photo states: “People have come

   from around the globe to meet the Miami Police stars of the ‘The First 48,’ the

   attention-grabbing series that has put the MPD in the limelight and captivated the

   television viewing audience.” D.E. 110 at 67.

                                            B

         On November 14, 2009, 14-year-old Raynathan Ray and 18-year-old

   Jonathan Volcy were murdered during a drug deal in an apartment in Little Haiti,

   in the City of Miami. Mr. Smart had lived in that apartment for several months,

   including at the time of the murders. Both boys were shot at close range, one in

   the back of the neck and one in the top of the head. When police officers arrived at

   the apartment to investigate the murders, The First 48 was with them and filmed

   the murder scene without Mr. Smart’s consent. See, e.g., D.E. 105 at 174.

         Three days after the murders, Mr. Smart contacted the Miami Police

   Department. He said that he was in the apartment when the shootings occurred,

   but ran away to hide because he feared that he too would be shot. Mr. Smart later

   met Detective Fabio Sanchez, a homicide detective with the Police Department, at

   a convenience store. Detective Sanchez frisked Mr. Smart and interviewed him.


                                            5
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         A cameraman from The First 48 who had accompanied Detective Sanchez

   filmed the conversation between Mr. Smart and Detective Sanchez. When Mr.

   Smart kept turning his head away to avoid being filmed, Detective Sanchez

   handcuffed Mr. Smart, ostensibly out of fear that he would run. Then Detective

   Sanchez put Mr. Smart in the back of his vehicle to await transportation to the

   police station for further questioning. Mr. Smart said he was afraid and did not

   want television cameras to show his face. He was never asked for his consent to be

   filmed, and never gave his consent to be filmed. Detective Sanchez, for his part,

   did nothing to stop the filming. The First 48 filmed Mr. Smart being transferred

   from Detective Sanchez’s car to a police cruiser, exiting the cruiser at the police

   station, entering the police station, riding up the elevator, and walking into an

   interrogation room. Mr. Smart again did not consent to being filmed. See, e.g.,

   D.E. 105 at 75-76; D.E. 107 at 188.

         Over a period of 15 hours, Detective Sanchez and his partner interrogated

   Mr. Smart. The entire interrogation was recorded. It is unclear whether the City or

   The First 48 owned the video equipment which was used to record Mr. Smart’s

   interrogation, but The First 48 obtained the interrogation videotape for use in its

   program. Mr. Smart did not consent to being videotaped in the interrogation room

   or to having the videotape given to The First 48. See, e.g., D.E. 105 at 75-76.




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         Mr. Smart was arrested and charged with two counts of second-degree

   murder, two counts of drug possession, and one count of being a felon in

   possession of a firearm. The First 48 again filmed Mr. Smart without his consent

   as he exited the interrogation room, was taken to the elevator, rode in the elevator,

   and was put in a police cruiser to be taken to jail.

                                              C

         The following day, November 18, 2009, the state circuit court held a bond

   hearing for Mr. Smart. It determined that the face of the arrest form did not

   demonstrate probable cause for the arrest. The state circuit court held a probable

   cause hearing the following day, at which Detective Sanchez testified. The federal

   district court later characterized his testimony as “at best, a gross misrepresentation

   of the facts” because Detective Sanchez “took gross liberties in misconstruing the

   facts known to him.” D.E. 66 at 12.

         For example, Detective Sanchez misconstrued Mr. Smart’s explanation of

   what had happened at the apartment, as well as the statement of Ciara Armbrister,

   who had been in the apartment before the shooting:

         A. She [Ms. Armbrister] was there prior -- he was prior -- yes, she
         was aware that he was there prior to the shooting, along with the two
         victims who are now deceased -- arguing over drugs and money.

         Q. So they were arguing? She could hear the argument?

         A. Yes, your Honor.


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          Q. Did anyone else -- was anyone else there besides the three males?

          A. Well the defendant placed himself and shortly before the shooting
          he places somebody else in the apartment, but then that person
          subsequently leaves. So the defendant himself, only places himself
          and two deceased victims in the apartment at the time of the shooting.

    D.E. 38-8 at 7. Ms. Armbrister’s testimony, however, was that two other people

    had been arguing over drugs and money, and that Mr. Smart was not part of the

    argument. And although Mr. Smart said that only he and the two victims were

    inside the apartment at the time of the shooting, he also said that the shooter had

    been outside the window and had shot through the partially-open window. Thus,

    Detective Sanchez did not accurately summarize the actual testimony of Ms.

    Armbrister and Mr. Smart.

          Detective Sanchez also testified that the physical evidence was not

    consistent with Mr. Smart’s version of events:

          Q. And then I understand -- I read the A Form on page 2 that said that
          the physical evidence did not fit whatever it is that Mr. Smart’s
          statement was. What was Mr. Smart’s statement?

          A. Mr. Smart’s statement was that him -- he and the two deceased
          victims were in the apartment at the time of the shooting. Mr. Smart
          claims that he went to the window to serve some narcotics to a buyer.
          The buyer was pushed to the side by the alleged shooter, and the
          shooter shot through the window, killing both victims. There’s no
          evidence that the shooting occurred outside. The evidence that we
          have places the shooter inside the crime scene.

          Q. What evidence is that?



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             A. Body placement, along with the casings and the actual window,
             where he claimed that the shooting happened through, was not
             shattered in any way. There’s a curtain that was hanging over it.
             There’s no evidence -- the absence of evidence was also very, very
             loud and clear.

    Id. at 8-9. But Mr. Smart had said that the window was open and that the shooter

    shot through the open part of the window, so Detective Sanchez’s representation

    that the scene was inconsistent because of the window not having been shattered

    was, in the district court’s view, another misleading statement to the state circuit

    court.

             At the end of the probable cause hearing, Detective Sanchez reiterated his

    earlier incorrect description of Ms. Armbrister’s testimony:

             Q. What did that witness tell you she heard as far as any comments --

             A. -- she overheard the defendants, and one of the victims that were in
             the living room, arguing over some money, over drugs and money.
             And she says that the defendant, I believe -- I believe it was the
             defendant, was asking for additional money. One of the deceased was
             claiming that he wasn’t going to give any additional money.

             Q. And that's contained -- that statement is contained in the sworn
             statement that you took?

             A. That is correct.

    Id. at 11.      Based on Detective Sanchez’s testimony, the circuit court found

    probable cause for the two second-degree murder charges and denied Mr. Smart

    bond on those charges. The circuit court also set a bond for Mr. Smart on the other

    charges.
                                               9
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           Mr. Smart remained in jail for 19 months. On June 15, 2011, the state nolle

    prosed all of the charges against Mr. Smart and he was released. In her case

    closeout memo, the assistant state attorney provided several reasons for the

    decision to dismiss the charges:            the physical evidence did not completely

    contradict Mr. Smart’s statement; one inmate had confessed to a second inmate

    about having committed the Ray and Volcy murders; and Mr. Smart was given a

    polygraph examination on June 6, 2011, which indicated he was truthful when he

    denied his involvement in the murders.3

           After the criminal charges against him were dropped, Mr. Smart filed the

    suit which is the subject of this appeal.

                                                   II

           The City of Miami first argues that the district court erred in denying its

    renewed motion for judgment as a matter of law, see Fed. R. Civ. P. 50(a)-(b), on

    Mr. Smart’s state law false imprisonment claim.

                                                   A

           In its post-trial Rule 50(b) motion and on appeal, the City argues that,

    despite Detective Sanchez’s misleading testimony at the probable cause hearing,

    the state law false imprisonment claim fails as a matter of law because Mr. Smart’s

    detention was based on a “valid court order.” Br. of Appellant at 21; D.E. 115 at 6.

    3
     The results of the polygraph were not presented as evidence at trial. These background facts
    come from the district court’s order on summary judgment.
                                                  10
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    As noted above, two days after his arrest, the state circuit court found that probable

    cause existed to detain Mr. Smart on two counts of second-degree murder. The

    City contends that the only issue before us is whether the probable cause hearing

    on November 19, 2009, was a “valid judicial proceeding, resulting in a facially

    valid judicial order” allowing the continued detention of Mr. Smart.               See Br. of

    Appellant at 22. If we find that judicial proceeding facially valid, the City argues,

    Mr. Smart was not falsely imprisoned under Florida law, and the City is entitled to

    judgment as a matter of law on that claim. See, e.g., Harder v. Edwards, 174 So.

    3d 524, 532 (Fla. 4th DCA 2015) (“The general rule is that arrest and

    imprisonment, if based upon a facially valid process, cannot be false.”).4

           Mr. Smart responds, and the district court ruled, that the City did not assert

    this “judicial process” argument in its Rule 50(a) motion at trial. Because it raised

    the “judicial process” argument for the first time in its post-trial Rule 50(b) motion,

    the district court ruled that the argument was therefore waived. We agree with the

    district court and Mr. Smart.

                                                  B

           Federal Rule of Civil Procedure 50(a)(2) provides that a party may move for

    judgment as a matter of law “before the case is submitted to the jury.” The motion


    4
     Under federal law, the Fourth Amendment permits a claim for unlawful pretrial detention if the
    court’s probable cause order was based solely on fabricated evidence. See Manuel v. City of
    Joliet, 137 S. Ct. 911, 918-19 (2017).
                                                  11
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    “must specify the judgment sought and the law and facts that entitle the movant to

    the judgment.” If the district court does not grant the motion, the movant may file

    a “renewed motion” under Rule 50(b) after trial.

          In a Rule 50(b) motion, “a party cannot assert grounds . . . that it did not

    raise in the earlier motion.” Middlebrooks v. Hillcrest Foods, Inc., 256 F.3d 1241,

    1245 (11th Cir. 2001). See also Fed. R. Civ. P. 50, advisory committee note to

    2006 amendment (“Because the Rule 50(b) motion is only a renewal of the

    preverdict motion, it can be granted only on grounds advanced in the preverdict

    motion. The earlier motion informs the opposing party of the challenge to the

    sufficiency of the evidence and affords a clear opportunity to provide additional

    evidence that may be available.”). Stated differently, “any renewal of a motion for

    judgment as a matter of law under Rule 50(b) must be based upon the same

    grounds as the original request for judgment as a matter of law made under Rule

    50(a) at the close of the evidence and prior to the case being submitted to the jury.”

    S.E.C. v. Big Apple Consulting USA, Inc., 783 F.3d 786, 813 (11th Cir. 2015).

          This requirement is intended to “avoid making a trap” and to prevent

    opposing counsel from being “ambushed” or “sandbagged” regarding the

    sufficiency of the evidence when it is too late to correct the problem. See Doe v.

    Celebrity Cruises, Inc., 394 F.3d 891, 903 (11th Cir. 2004). We traditionally

    accept arguments in a Rule 50(b) motion that are “closely related” to those made in


                                             12
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    a Rule 50(a) motion, because “setting aside a jury’s verdict is no surprise to the

    non-movant” in that context. McGinnis v. Am. Home Mortg. Servicing, Inc., 817

    F.3d 1241, 1261 (11th Cir. 2016).

          The City’s post-trial Rule 50(b) motion focused on false imprisonment being

    “detention without color of legal authority,” which occurs “when there is an

    improper restraint which is not the result of a judicial proceeding.” See Card v.

    Miami-Dade Cnty., 147 F. Supp. 2d 1334, 1347 (S.D. Fla. 2001). To support its

    Rule 50(b) motion, the City argued that Mr. Smart’s false imprisonment claim

    failed as a matter of law because “false imprisonment ends once the victim

    becomes held pursuant to [legal] process—when, for example, he is bound over

    by a magistrate or arraigned on charges.” Wallace v. Kato, 549 U.S. 384, 389

    (2007). According to the City, Mr. Smart’s false imprisonment ended when the

    circuit court found probable cause to detain him on two counts of second-degree

    murder. From that point on, Mr. Smart’s continued detention “was pursuant to the

    court’s order, not the initial determination of probable cause to arrest by the

    officers.” D.E. 115 at 7. And because the probable cause hearing resulted in a

    “facially valid judicial order,” it did not matter whether Detective Sanchez had

    testified untruthfully during that hearing. Id. See also Jackson v. Navarro, 665 So.

    2d 340, 342 (Fla. 4th DCA 1995) (holding that imprisonment under regular process

    and issued by lawful authority is not false, even if it was maliciously instituted).


                                            13
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    Mr. Smart’s recourse, said the City in its Rule 50(b) motion, would be a claim

    against Detective Sanchez individually for malicious prosecution.

          The City made its Rule 50(a) motion orally, after the close of the evidence.

    The City argued at the Rule 50(a) hearing that “it is clear that probable cause never

    dissipated throughout this entire process.” D.E. 110 at 238 (emphasis added). In

    support of its position, the City’s counsel read into the record portions of the sworn

    statement from the state attorney’s information against Mr. Smart, which was filed

    on December 9, 2009:

          ‘Personally known to me and appearing before me the State --
          Assistant State Attorney of the 11th Judicial Circuit of Florida whose
          signature appears below, being first duly sworn, says that the
          allegations set forth in this information are based upon facts which
          have been sworn to as true by a material witness or witnesses; and
          which, if true, would constitute the offenses therein charged. And that
          this prosecution is instituted in good faith this 9th day of December,
          2009,’ long after the bond -- the probable cause hearing, long after
          the arrest. And from that point forward, this is a court case with a
          person in county custody under the supervision of the Department of
          Corrections, with the State Attorney being able to take positions, but
          the Police Department not.

    Id. at 245 (emphasis added). The City’s counsel summarized: “I stand on the fact

    that probable cause existed at the time of the arrest for multiple offenses. Probable

    cause never dissipated throughout the entire course of the litigation on all of those

    offenses.” Id. at 247 (emphasis added). Then he immediately repeated: “Probable

    cause never dissipated in this case. We had it from the beginning, from the time of

    the arrest, and never dissipated.” Id. at 247.
                                              14
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          This Rule 50(a) argument clearly focused on probable cause “exist[ing] all

    the way through,” id. at 249, but did not touch at all on the idea of “valid judicial

    process.” Nowhere in the Rule 50(a) argument did the City’s counsel assert that

    the state circuit court’s probable cause finding cut off Mr. Smart’s claim of false

    imprisonment as a matter of law. In fact, the City’s counsel did not mention the

    probable cause hearing at all. Counsel also did not contend that Mr. Smart should

    instead pursue a claim of malicious prosecution against Detective Sanchez.

    Counsel did not cite or refer to Wallace, 549 U.S. at 389, which was a central

    feature of the City’s Rule 50(b) motion.           Counsel focused only on the

    reasonableness of the investigations by Detective Sanchez and the charging

    decision of the prosecutor, and whether their actions established the probable cause

    needed to arrest and prosecute Mr. Smart.

          Indeed, during the Rule 50(a) hearing, it was the district court and Mr.

    Smart’s attorney who briefly discussed the probable cause hearing and Detective

    Sanchez’s misrepresentations to the state circuit court. Mr. Smart’s counsel began

    his argument by stating:

          [T]he most important part or the most important issue that we’re
          overlooking is that you cannot develop probable cause on an
          unreasonable investigation and just overlook facts and, more
          importantly, make misrepresentations to the bond hearing judge. Had
          they not made those misrepresentations, it would have been a totally
          different case. . . . But since they did misrepresent it to Judge Cueto,
          they don’t get this whole probable cause staying.


                                             15
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    D.E. 110 at 253-54. The district court responded:

          Well, their theory is to me that, once [Detective] Sanchez had
          objective probable cause under any circumstances, I should not look
          at the misrepresentation to Judge Cueto. I should look at what he knew
          when he filled out the A-form, for lack of a better time frame.

    Id. at 254 (emphasis added). Despite this discussion between the district court and

    Mr. Smart’s attorney, no one on the City’s behalf mentioned “judicial process” or

    the theory that a probable cause finding by the state circuit court precluded the

    false imprisonment claim. Instead, both parties and the district court continued to

    focus on whether Detective Sanchez had objective probable cause to arrest Mr.

    Smart. The district court ultimately concluded that “there [was] a question of fact

    of whether or not [Detective] Sanchez had objective probable cause because of the

    nature of the investigation.” Id. at 257.

          Although both of the City’s Rule 50 motions discussed probable cause, they

    did so in different legal contexts, and with different legal goals. The Rule 50(a)

    argument focused on Detective Sanchez’s investigation and the prosecutor’s

    charging decision, and contained no reference to valid judicial process foreclosing

    the possibility of a false imprisonment claim. The Rule 50(b) motion, in contrast,

    focused entirely on the facial validity of the judicial process, despite any

    misstatements by Detective Sanchez at the probable cause hearing, and on the




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    probable cause finding by the state circuit court cutting off Mr. Smart’s false

    imprisonment claim.

          In keeping with Rule 50’s underlying purposes of promoting fairness and

    preventing “sandbagging,” we agree with the district court and Mr. Smart that the

    City failed to preserve its Rule 50(b) judicial process argument. The City’s Rule

    50(a) and Rule 50(b) motions were not based on “closely related” arguments, but

    were instead made on factually different and legally independent bases relating to

    probable cause. The City, we hold, has not preserved its Rule 50(b) legal process

    argument. See, e.g., Big Apple Consulting, 783 F.3d at 813 (defendant who moved

    for judgment as a matter of law under Rule 50(a) on only one element of applicable

    claim did not preserve Rule 50(b) argument as to other elements of that same

    claim). The jury’s award of $403,450 to Mr. Smart for false imprisonment under

    Florida law therefore stands.

                                             III

          As noted earlier, Mr. Smart asserted three Fourth Amendment claims under

    § 1983, all based on filming and broadcast by The First 48 without his consent. In

    chronological order, the first concerned the filming of the murder scene at his

    apartment; the second concerned the filming of Mr. Smart in handcuffs before and

    after his arrest; and the third concerned the filming of Mr. Smart’s interrogation.




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          The City argues that the district court erred in denying its renewed motion

    for judgment as a matter of law on all of Mr. Smart’s § 1983 claims, and in

    granting judgment as a matter of law in favor of Mr. Smart on the liability aspect

    of one of those claims (the one based on the filming of the murder scene in the

    apartment). The City asserts that there were no Fourth Amendment violations and

    that Mr. Smart did not present sufficient evidence of a policy, custom, or practice

    on its part. Mr. Smart defends the district court’s rulings.

          “We review de novo a district court’s denial of a defendant’s renewed

    motion for judgment as a matter of law, applying the same standards as the district

    court.” Combs v. Plantation Patterns, 106 F.3d 1519, 1526 (11th Cir. 1997). See

    also Bogle v. Orange Cnty. Bd. of Cnty. Comm’rs, 162 F.3d 653, 656 (11th Cir.

    1998). We construe all of the evidence and inferences in the light most favorable

    to the nonmoving party. See Sherrin v. Nw. Nat’l Life Ins. Co., 2 F.3d 373, 377

    (11th Cir. 1993).

          “If the facts and inferences point overwhelmingly in favor of one party, such

    that reasonable people could not arrive at a contrary verdict, then the motion was

    properly granted.” Id. On the other hand, “if there is substantial evidence opposed

    to the motion such that reasonable people, in the exercise of impartial judgment,

    might reach differing conclusions, then such a motion was due to be denied.” Id.




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          We agree with the City that the district court should not have granted

    judgment as a matter of law to Mr. Smart on liability for the § 1983 claim relating

    to the filming of the apartment, but conclude that it correctly denied the City’s

    motion for judgment as a matter of law on all of the § 1983 claims.

                                            A

          A municipality cannot be held liable under § 1983 for a constitutional

    violation based on the doctrine of respondeat superior. Liability attaches only if

    the constitutional violation resulted from a policy, custom, or practice of the

    municipality which was the moving force behind the violation. See generally Los

    Angeles Cnty. v. Humphries, 562 U.S. 29, 36 (2010); Monell v. Dep’t of Soc.

    Servs., 436 U.S. 658, 690 (1978).

          To hold the City liable under § 1983, Mr. Smart had to prove “either (1) an

    officially promulgated [City] policy or (2) an unofficial custom or practice of the

    [City] shown through the repeated acts of a final policymaker for the [City].”

    Grech v. Clayton Cnty., 335 F.3d 1326, 1329 (11th Cir. 2003) (en banc). As to the

    latter, Mr. Smart could show that the City’s final policymakers acquiesced in a

    longstanding practice or custom which constituted the “standard operating

    procedure” of the City, or that a “longstanding and widespread practice [was]

    deemed authorized by the policymaking officials because they must have known

    about it but failed to stop it.” Brown v. City of Ft. Lauderdale, 923 F.2d 1474,


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    1481, 1481 n.11 (11th Cir. 1991).      He also could show that the City’s final

    policymakers adopted or ratified the unconstitutional conduct or decision made by

    a subordinate official. See Matthews v. Columbia Cnty., 294 F.3d 1294, 1297

    (11th Cir. 2002).

                                             B

          We start with the filming of the murder scene inside the apartment in 2009

    by The First 48. That filming was done without Mr. Smart’s consent, and we

    conclude that there was sufficient evidence to show a Fourth Amendment violation

    under the Supreme Court’s decision in Wilson v. Layne, 526 U.S. 603, 611-14

    (1999) (holding that the filming of a family and its private home by reporters

    without consent during the execution of an arrest warrant violated the Fourth

    Amendment because the reporters were not aiding the police in their work, and

    rejecting arguments that the filming was permissible because (a) the reporters

    helped the police in their general law enforcement mission, (b) the filming helped

    publicize police efforts to combat crime, and (c) the filming could help minimize

    police abuses and protect innocent suspects).         See also United States v.

    Hendrixson, 234 F.3d 494, 496 (11th Cir. 2000) (applying Wilson to find that the

    district court erred in holding that media presence during the search of a residence

    was not a Fourth Amendment violation).




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          The justifications put forth by the City were addressed and rejected in

    Wilson, and are not justifications here. We further reject the City’s argument that,

    as a matter of law, Mr. Smart abandoned his privacy interests when he fled the

    apartment for fear of being shot, leaving behind his wallet, phone, and other

    belongings. On the evidence presented, whether Mr. Smart’s Fourth Amendment

    rights were violated by the media presence and filming at the apartment was a

    matter for the jury to decide. See generally Minnesota v. Olson, 495 U.S. 91, 98-

    99 (1990); Jones v. United States, 362 U.S. 257, 259 (1960).

          We agree with the City, however, that the district court should not have

    granted judgment as a matter of law in favor of Mr. Smart on the municipal

    liability aspect of this claim. When Mr. Smart moved for judgment as a matter of

    law, the evidence as to policy, custom, or practice had to be viewed in the light

    most favorable to the City. See, e.g., Abel v. Dubberly, 210 F.3d 1334, 1337 (11th

    Cir. 2000). The question, therefore, was whether—despite what the agreement

    between the City and The First 48 stated—there was a dispute in the evidence as to

    whether the City had a custom or practice to allow The First 48 to film places and

    people without obtaining the required consent.

          The district court found as a matter of law that the City had a custom of not

    obtaining consent before allowing The First 48 to film inside homes and

    residences. See D.E. 111 at 4. But the evidence on this point conflicted, and, as a


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    result, the district court erred in granting judgment as a matter of law to Mr. Smart

    on the § 1983 claim based on the filming of the murder scene in the apartment.

    For example, Sergeant Altarr Williams, who was in the homicide division, was

    asked whether The First 48 “ask[ed] permission of people [who] were suspects to

    tape them[.]” He answered “Pretty much.” D.E. 110 at 110. He also testified that

    the crew from The First 48 kept a pad of “waivers for [everyone] they spoke to,

    except for arrestees that were charged. They would generally ask them to read and

    sign.” Id. at 110-11. In addition, Commander Eunice Cooper, who at the time of

    trial was in charge of the homicide division, told the jury that “from time to time”

    she had seen the crew of The First 48 “get consent from people.” Id. at 76-77.

    This testimony, if believed, would have permitted a jury to find that there was no

    custom or practice by the City to allow The First 48 to do its filming inside homes

    and residences without obtaining the necessary consent. It therefore precluded the

    district court from granting judgment as a matter of law in favor of Mr. Smart.

          We therefore vacate the jury’s award of $152,250 in damages to Mr. Smart

    based on the non-consensual filming of the murder scene at the apartment, and

    remand this claim for a new trial.

                                             C

          The two other § 1983 claims are based on the filming and broadcast of Mr.

    Smart in handcuffs before and after his arrest and the filming and broadcast of Mr.


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    Smart’s interrogation. We first address the City’s arguments that there were no

    constitutional violations, and then turn to whether the jury could find municipal

    liability.

                                                1

           The evidence, viewed in the light most favorable to Mr. Smart, allowed the

    jury to find that the filming and broadcast of Mr. Smart in handcuffs before and

    after his arrest constituted a seizure of Mr. Smart’s image and implicated Mr.

    Smart’s privacy rights under the Fourth Amendment. “The Fourth Amendment

    seizure has long encompassed the seizure of intangibles as well as tangibles[,]”

    which, according to a number of courts around the country, include a person’s

    image. Caldarola v. Cnty. of Westchester, 343 F.3d 570, 574-75 (2d Cir. 2003)

    (holding that a Fourth Amendment seizure occurred when the county videotaped

    an arrestee being escorted through the department of corrections parking lot and

    into a car for transport to the police station).

           We recognize that in Caldarola the Second Circuit ultimately held that the

    county’s videotaping did not violate the Fourth Amendment because it served a

    legitimate purpose (to inform the public about its efforts to stop the abuse of

    disability benefits by its employees), see id. at 576-77, but here the City argues

    only that walking Mr. Smart down a police station hallway was a valid law

    enforcement activity. It does not argue that videotaping Mr. Smart during the walk


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    and allowing the images to be broadcast served any legitimate purpose. See Br. of

    Appellant at 39-40. So the ultimate conclusion in Caldarola does not help the City

    here.

            That leaves for consideration the filming and broadcast of Mr. Smart’s

    interrogation while the murder case was ongoing. Cf. Demery v. Arpaio, 378 F.3d

    1020, 1031-33 (9th Cir. 2004) (holding that pretrial detainees would likely prevail

    on their claim that round-the-clock webcam filming and internet broadcasting of

    them in areas of a jail which were not open to the public, including the men’s

    holding cell bunkbeds, the booking area, and the pat-down search area, violated

    their substantive Fourteenth Amendment Due Process rights because the filming

    was not related to a non-punitive purpose and “turn[ed] pretrial detainees into the

    unwilling objects of the latest reality show”). The City makes only one argument

    in support of its contention that the filming and broadcast of Mr. Smart’s

    interrogation did not violate his constitutional rights. The City asserts that there

    was no constitutional violation because it “exercised its discretion to waive the

    active criminal investigation and intelligence information exemption contained in

    [Fla. Stat.] § 119.07(1) . . . and produced [Mr. Smart’s] videotaped interrogation to

    [The First 48].”   Br. of Appellant at 42.      There are two problems with this

    argument, and we therefore reject it.




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          First, the 2008 version of the agreement provides that The First 48 “shall not

    knowingly use, publish, or broadcast any materials or images that are of a

    confidential nature pursuant to applicable laws and statutes.” Plaintiff’s Ex. 2 at

    ¶ 6. This provision indicates that if The First 48 wanted to use investigative

    materials (such as an interrogation videotape) while a murder case was ongoing, it

    would have needed the City’s permission.

          Second, statements by counsel in the City’s brief about the waiver of

    exemptions under Florida’s Public Records Act do not constitute evidence, see

    Travaglio v. Am. Express Co., 735 F.3d 1266, 1270 (11th Cir. 2013), and as far as

    we can tell there was no evidence whatsoever at trial that The First 48 ever

    requested a copy of Mr. Smart’s interrogation videotape from the City pursuant to

    the Public Records Act, or that the City chose to waive exemptions under that Act

    and provide a copy of the videotape to The First 48. Notably, the City does not

    cite any portion of the trial record to support its factual argument. There was a

    discussion of Florida’s Public Records Act, but the assertion about the City’s

    authority (both hypothetical and actual) to waive exemptions in favor of The First

    48 was made by the City’s counsel during the Rule 50(a) arguments. See D.E. 110

    at 225-30. As we have said many times before, the factual assertions made by an

    attorney on a contested issue are not a substitute for proper evidence. See, e.g.,

    United States v. Washington, 714 F.3d 1358, 1361-62 (11th Cir. 2013).


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                                             2

          Having concluded that the evidence allowed the jury to find violations of

    Mr. Smart’s Fourth Amendment rights in these two circumstances, we address

    whether the evidence—viewed in the light most favorable to Mr. Smart—also

    permitted the jury to find a custom or practice on the part of the City to allow The

    First 48 to film individuals without obtaining consent, and whether this custom or

    practice was the moving force behind the constitutional violations. We answer

    those questions affirmatively.

          As an initial matter, the City seems to be arguing that, without direct

    evidence of a custom or practice, it was entitled to judgment as a matter of law. As

    an evidentiary matter, we disagree.      The “test for evaluating circumstantial

    evidence is the same as in evaluating direct evidence.”           United States v.

    Henderson, 693 F.2d 1028, 1030 (11th Cir. 1982). Indeed, circumstantial evidence

    can be just as probative as direct evidence. See, e.g., United States v. Cook, 842

    F.3d 597, 602 (8th Cir. 2016); United States v. Kruse, 606 F.3d 404, 409 (7th Cir.

    2010); Gierbolini-Colon v. Aponte-Roque, 848 F.2d 331, 335 (1st Cir. 1988). And

    in the § 1983 context we have held that circumstantial evidence, in the form of the

    unconstitutional nature of many prior police encounters, can help demonstrate a

    municipal custom or practice due to city officials choosing not to take corrective

    action. See Kerr v. City of W. Palm Beach, 875 F.2d 1546, 1556 (11th Cir. 1989).


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    With this matter resolved, we turn to the evidence presented at trial, which we find

    sufficient for a reasonable jury to find that the City had a custom or practice of

    allowing The First 48 to film individuals without their consent.

          First, the 2008 version of the agreement between the City and The First 48

    allowed the program to film at police headquarters without any apparent

    limitations (though the participation of individual police officers was voluntary).

    See Plaintiff’s Ex. 2 at ¶¶ 1-3, 4. Such filming would, therefore, necessarily

    include the transport and interrogation of all or most arrestees like Mr. Smart.

          Second, for suspects who were arrested (like Mr. Smart), Sergeant Williams

    testified that The First 48 would “generally” ask for consent to film. D.E. 110 at

    111. But, significantly, if the arrestee refused consent (or if no consent was

    requested), the crew would then obtain the video from the police interrogation

    room. That is what happened with Mr. Smart. See D.E. 107 at 187-88; D.E. 110 at

    110-11.

          Third, the testimony of Commander Cooper (who was the City’s designated

    representative at trial), Sergeant Williams, and Detective Sanchez (as well as the

    reasonable inferences drawn from their testimony) indicated that the City did not

    promulgate any policies for interacting with The First 48; that police officers were

    told to cooperate with The First 48 (but not to do reenactments); that the agreement

    between the City and The First 48 was not given to officers or team supervisors

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    (who therefore would not have known that it was the contractual responsibility of

    The First 48 to obtain consent); that the only directive the homicide detectives

    received regarding The First 48 was not to allow the show to compromise crime

    scenes or interfere with investigative work; and that there were no policies in place

    to ensure that the appropriate consent was obtained. See D.E. 107 at 178-79, 181;

    D.E. 110 at 52-53, 58, 60-61, 76, 79-80, 107-09, 111-13.

          Fourth, the jury was not required to accept the testimony of Sergeant

    Williams and Commander Cooper as set out in Part III.B of this opinion. The jury

    apparently disbelieved both witnesses as to whether The First 48 generally

    obtained consents, and having rejected their testimony, was entitled to find that

    “the truth [was] the opposite of [their] story,” i.e., that The First 48 generally did

    not secure consents. See NLRB v. Walton Mfg. Co., 369 U.S. 404, 408 (1962)

    (quoting Dyer v. MacDougall, 201 F.2d 265, 269 (2d Cir. 1952)). See also NLRB

    v. Dixie Gas Co., 323 F.2d 433, 435-36 (5th Cir. 1963) (same). Significantly, the

    2008 version of the agreement between the City and The First 48 required the

    program to send to Lieutenant John Buhrmaster (or his designee) a video tape of

    each proposed episode before airing (at the “fine cut” stage) showing the work of

    the City’s police officers so that he could notify The First 48 of any factual

    inaccuracies and provide written comments. See Plaintiff’s Ex. 2 at ¶ 6. The jury




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    could have found that Lieutenant Buhrmaster knew about the systematic failure of

    The First 48 to obtain consents and did nothing about it.

          Fifth, as to whether the City’s custom or practice was the moving force

    behind the constitutional violations, Detective Sanchez testified that the crew of

    The First 48 had been riding around with him, that he did not ask Mr. Smart for

    consent to be filmed by The First 48, and that he was not concerned about asking

    for consent because the police department’s policy was to cooperate with The First

    48 and permit them to film. See D.E. 107 at 180-81. Moreover, the testimony

    summarized above indicates that, as a matter of course, The First 48 would obtain

    interrogation videotapes even if the arrestees or suspects did not consent.

          As a result, we affirm the jury’s award of $152,250 to Mr. Smart for the

    § 1983 claim based on the non-consensual filming and broadcast of him in

    handcuffs before and after his arrest, and the award of $152,250 to Mr. Smart for

    the filming and broadcast of his interrogation.

                                             IV

          Finally, the City argues that the district court should have granted its motion

    for a new trial because it was unfairly prejudiced by the introduction of certain

    evidence and by a closing argument comment. The City sets forth three grounds

    for why it deserves a new trial: Mr. Smart should not have been permitted to

    introduce testimony regarding (1) the polygraph exam he took or (2) the confession


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    of a fellow inmate, and (3) Mr. Smart’s counsel should not have stated that the City

    “pimped” for The First 48.5

                                                   A

           We review a district court’s denial of a motion to grant a new trial for an

    abuse of discretion. See Williams v. City of Valdosta, 689 F.2d 964, 974 (11th Cir.

    1982). A new trial is only warranted if an evidentiary error affected “substantial

    rights” or caused “substantial prejudice.” Peat, Inc. v. Vanguard Research, Inc.,

    378 F.3d 1154, 1162 (11th Cir. 2004). As we explained in Peat, “the inquiry is

    always directed to the same central question—how much of an effect did the

    improperly admitted or excluded evidence have on the verdict?” Id.

                                                   B

           The City first argues for a new trial based on the district court’s admission of

    evidence that Mr. Smart offered to take, and actually took, a polygraph. The City

    believes this evidence was unfairly prejudicial because it bolstered his credibility,

    and because the jury could only reasonably conclude that Mr. Smart’s case was


    5
      We discuss only the evidence concerning Mr. Smart’s polygraph. As to the City’s two other
    arguments, we conclude that the testimony concerning an inmate’s confession to the double
    murder of Mr. Ray and Mr. Volcy was not hearsay because it was not introduced for the truth of
    the matter asserted (i.e., that the inmate actually committed the murders) but rather to show the
    effect of that confession on the murder investigation. See Fed. R. Evid. 801(c); United States v.
    Rivera, 780 F.3d 1084, 1092 (11th Cir. 2015); United States v. Parry, 649 F.2d 292, 295 (5th
    Cir. 1981). And we conclude that the comment by Mr. Smart’s counsel in closing argument that
    the City “pimped” for The First 48 did not constitute reversible error even though likely
    inappropriate. See Peterson v. Willie, 81 F.3d 1033, 1039-40 (11th Cir. 1996); Vineyard v. Cnty.
    of Murray, 990 F.2d 1207, 1214 (11th Cir. 1993).
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    dismissed because he passed the polygraph test.         Compounding the problem,

    according to the City, was testimony by Mr. Smart that he “was going home

    because [he] didn’t do it,” D.E. 105 at 164, and by his criminal defense attorney,

    who said, “I know that I have an innocent client,” D.E. 109 at 135-36. Finally, the

    City argues that Detective Sanchez’s credibility was undermined by Mr. Smart’s

    argument that Detective Sanchez did not administer a polygraph because he did not

    want to know the truth. The City contends the prejudicial effect of the polygraph

    evidence, related testimony, and argument about Mr. Smart’s innocence was

    incapable of being cured by the district court’s instruction.

          Mr. Smart counters that the City opened the door to evidence of the

    polygraph and its results by “attempting to try a criminal case against [Mr.] Smart

    and casting him as a lying thug and a murderer.” Br. of Appellee at 47. In

    addition, Mr. Smart argues that the testimony regarding the detectives’ refusal of

    his many requests for a polygraph, after they had originally offered one, was

    intended to show the detectives’ willful indifference towards conducting a proper

    murder investigation. Mr. Smart further contends that even if the district court

    erred by admitting evidence of his multiple requests for a polygraph, the error

    would not warrant a new trial given the court’s specific jury instructions regarding

    the evidence’s use (which we discuss later).




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          The City cites a number of cases dealing with the inadmissibility and

    unreliability of polygraph evidence. Several of these cases, however, were decided

    when the Eleventh Circuit had a per se rule of exclusion, and are thus

    distinguishable. Additionally, many are criminal cases, and others are from other

    federal circuits and other states, which apply different rules. For example, in

    support of its statement that “[i]t is well-established that polygraph examination

    results are inadmissible because they are not reliable,” Br. of Appellant at 44, the

    City cites United States v. Scheffer, 523 U.S. 303, 313-15 (1998). But Scheffer

    dealt with Military Rule of Evidence 707, which completely bans all references to

    polygraphs.   Id. at 306-07.     The Supreme Court addressed whether making

    polygraph evidence completely inadmissible in courts-martial unconstitutionally

    abridges the right of the accused to present a defense. Id. at 305. The Supreme

    Court held that “[b]ecause litigation over the admissibility of polygraph evidence is

    by its very nature collateral, a per se rule prohibiting its admission is not an

    arbitrary or disproportionate means of avoiding it,” and concluded that the rule was

    not unreasonable. Id. at 314-15. Scheffer does not govern here because the

    Eleventh Circuit no longer has a rule of per se inadmissibility of polygraphs.

          In the Eleventh Circuit, evidence regarding polygraph examinations is not

    per se inadmissible. See United States v. Piccinonna, 885 F.2d 1529, 1535 (11th

    Cir. 1989) (en banc). In Piccinonna, we reviewed the history of polygraphs and


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    the judiciary’s initial concerns about polygraphs’ reliability and general acceptance

    under Federal Rule of Evidence 702 and the Frye standard for admitting expert

    scientific evidence. See id. at 1531. We then explained that increased acceptance

    of polygraphs by the scientific community and improvements in polygraph

    techniques had led us to reevaluate the per se exclusionary rule and “institute a rule

    more in keeping with the progress made in the polygraph field.” Id. at 1532. We

    concluded that expert polygraph evidence may be admitted at trial in two

    instances: (1) when both parties stipulate to the circumstances of the test and the

    scope of its use; and (2) to impeach or corroborate a witness’s testimony. See id. at

    1536. Additionally, evidence that a witness passed a polygraph examination, when

    used to corroborate in-court testimony, is not permitted under Rule 608 unless the

    witness’s credibility was first attacked. See id. Even within these above described

    situations, though, the “admission of polygraph evidence for impeachment or

    corroboration purposes is left entirely to the discretion of the trial judge.” Id.

          Here, the district court allowed Mr. Smart to introduce testimony and

    evidence indicating he had asked at least 85 times to take a polygraph exam. Mr.

    Smart also introduced evidence that his case was dismissed shortly after he took a

    polygraph. The City contends that the probative value of this polygraph evidence

    was substantially outweighed by its prejudicial effect, and that the district court’s

    curative instruction confused and misled the jury.


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          Unlike many of the cases cited in the briefs, and unlike in Piccinonna, no

    expert testimony regarding a polygraph is at issue here. Neither side tried to

    present expert testimony related to the result of the polygraph taken by Mr. Smart.

    So the focus of the debate is whether testimony illustrating Mr. Smart’s requests to

    submit to a polygraph was unduly prejudicial to the City in this civil trial.

          The district court dealt with the issue of the polygraph numerous times

    throughout the litigation. Before trial, the district court’s order on motions in

    limine addressed the City’s motion to exclude any evidence that a polygraph was

    offered to or taken by Mr. Smart. The district court ruled:

          The fact that [Mr.] Smart requested a polygraph numerous times is
          relevant to the reasonableness of the officers’ investigation of the
          murders and would not implicate issues relating to the reliability of
          polygraph results. The results of the polygraph given to [Mr. Smart]
          may not be admitted in evidence, unless the proper factual predicate is
          laid that the City required [Mr. Smart] to take the polygraph prior to
          releasing him and dropping the charges against him.

    D.E. 68 at 4. It appears to us that the district court weighed the probative value of

    the evidence against possible prejudicial effect in arriving at this compromise.

          In the middle of the City’s opening statement, the district court called a

    sidebar to warn the City’s counsel that his choice of argument might open the door

    to admission of more evidence about the polygraph:

          You just said [Mr. Smart] told a story that “can’t be true.” He must be
          guilty of the murder . . . [W]e haven’t talked about anybody else
          who’s actually prosecuted, and you’re basically retrying the murder
          case.
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    D.E. 104 at 163. At the close of the first day of trial, after dismissing the jury, the

    district court again cautioned:

          I don’t want you all characterizing if something Mr. Smart said was
          true or untrue . . . If that theme continues to run on the City’s side of
          the aisle, I’m just letting you know that I may view that as opening the
          door to the results of the polygraph. What I have allowed so far is
          only the fact that Mr. Smart asked for one. I have not allowed any
          results.

    Id. at 201-02. These explanations by the district court are in keeping with the

    standard set forth in Piccinonna, where the bolstering of a witness’ testimony

    through polygraph expert testimony is allowed once opposing counsel calls into

    question that witness’ credibility. The difference here is that any bolstering was

    not performed by an expert’s analysis of polygraph results, but merely by Mr.

    Smart himself, through the interrogation video clip in which he pleaded for the

    opportunity to take a polygraph.

          In addition to giving clear guidance to counsel regarding allowable

    parameters for the limited use of polygraph evidence, on several occasions

    throughout the trial and in response to the City’s many objections and repeated

    motions for mistrial, the district court gave the following instruction to the jury:

          Evidence has been received regarding the plaintiff’s request to take a
          polygraph. A polygraph examination is not required in a criminal
          case. This evidence is for your consideration of the officers’
          investigation only in this case. You should not assume that a
          polygraph is scientifically reliable method, as . . . the results of a


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            polygraph . . . would be inadmissible in court for a criminal
            prosecution for homicide.

    D.E. 105 at 162. Again the following day, the district court reiterated:

            Ladies and gentlemen, as I previously told you, evidence has been
            received regarding the plaintiff’s request to take a polygraph. This
            evidence is for consideration of the officer’s investigation only. You
            should not assume that a polygraph is a scientifically reliable method,
            as a polygraph would be inadmissible in court for a criminal
            prosecution for homicide.

    D.E. 106 at 156-57. On the sixth day of trial, the district court again reminded the

    jury:

            Ladies and gentlemen, as I’ve said to you repeatedly throughout this
            trial, a polygraph is not an investigative tool in a homicide
            investigation. The State is [ ] not required to give one. It’s not
            admissible in court, and the police officers in this case were not
            required to give one.

    D.E. 109 at 181.

            We normally presume that juries follow the instructions given to them, see,

    e.g., United States v. Lopez, 649 F.3d 1222, 1237 (11th Cir. 2011), and we see no

    reason to conclude otherwise here given the number of times the district court

    provided the jury with instructions. Based on the foregoing—our circuit precedent

    regarding expert testimony on polygraphs, the district court’s limitations on Mr.

    Smart’s admission of polygraph evidence (i.e., that he requested a polygraph, that

    he ultimately took one, and that the charges were dropped after he did so), the fact

    that there was no expert testimony concerning the results of the polygraph, and the


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    district court’s frequent instructions to the jury—we find no abuse of discretion in

    the district court admitting evidence related to Mr. Smart’s request for and taking

    of a polygraph.

                                             V

          We affirm the jury’s verdicts in favor of Mr. Smart on the state law false

    imprisonment claim, the § 1983 Fourth Amendment claim based on the

    nonconsensual filming and broadcast of Mr. Smart in handcuffs before and after

    his arrest, and the § 1983 Fourth Amendment claim based on the non-consensual

    filming and broadcast of Mr. Smart’s interrogation. We reverse the district court’s

    grant of judgment as a matter of law in favor of Mr. Smart on the liability aspect of

    the § 1983 claim based on the non-consensual filming of the murder scene in the

    apartment because the evidence, viewed in the light most favorable to the City,

    presented an issue for the jury on municipal custom and practice. We therefore

    vacate the jury’s award of damages to Mr. Smart on that particular claim and

    remand for a new trial on that claim.

          AFFIRMED IN PART, REVERSED IN PART, AND REMANDED.




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